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                                                                                                        (800) 603-0836
                                                                                       Para Español, Ext. 2660 o 2643
          323 5TH STREET                                                             8:00 a.m. – 5:00 p.m. Pacific Time
          EUREKA CA 95501                                                                     Main Office NMLS #5985
                                                                                            Branch Office NMLS #9785



                                                                                                         April 24, 2018

                                                                               SnscLoanID0000280827
  PEGGY A HARRIS
  ROBERT HARRIS
  2041 W ELDRED RD
  ELDRED PA 16731



RE: New Loan Number:
    Old Loan Number
    Collateral: 2041 WEST ELDRED ROAD; ELDRED PA

Dear Customer:

This notice is being sent to you in accordance with the Federal Fair Debt Collection Practices Act, 15 U.S.C.
§§1692 et seq.

As of the date of this letter, our records indicate the total amount of your debt is $34,474.65. Because of
interest, late charges and other charges that may vary from day to day, the amount due on the day you pay
may be greater. Hence, if you pay the amount shown above, an adjustment may be necessary after we
receive your check, in which event we will inform you before depositing the check for collection. For further
information, write the undersigned or call (800) 603-0836.

AHP-2015A+LLC is the creditor to whom the debt is owed. However, SN Servicing Corporation, a debt
collector, is responsible for servicing and collecting the debt .

Unless you dispute the validity of the debt or any portion of the debt within thirty (30) days after your receipt of
this letter, we will assume that the debt is valid.

If you notify us in writing within thirty (30) days after your receipt of this letter that you dispute the debt or any
portion of the debt, we will obtain verification of the debt or a copy of any judgment against you and we will
mail you a copy of such verification or judgment.

We will provide you with the name and address of the original creditor on the debt, if different from the current
creditor, if you request this information in writing within thirty (30) days after your receipt of this letter.

You are hereby notified that this letter is being sent to you by SN Servicing Corporation, which is a debt
collector. SN Servicing Corporation is attempting to collect a debt. Any information obtained by us will be
used for that purpose. However, if you are in a bankruptcy proceeding or your debt has been discharged in
bankruptcy, please read the next paragraph carefully for some important information.

NOTICE TO ANY CUSTOMER IN BANKRUPTCY OR WHO HAS RECEIVED A DISCHARGE IN
BANKRUPTCY: Notwithstanding anything in this notice to the contrary, if you have filed a bankruptcy petition
and there is either an “automatic stay” in effect in your bankruptcy case, or you have received a discharge of
your personal liability for the obligation identified in this letter, we may not and do not intend to pursue
collection of that obligation from you personally. If these circumstances apply, this notice is not intended as a
demand for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, however,
please also note that despite any such bankruptcy filing, we do continue to retain whatever rights we hold in
the property that secures the obligation.


SN Servicing Corporation for AHP-2015A+LLC
Customer Service Department
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                                                                                                      (800) 603-0836
                                                                                     Para Español, Ext. 2660 o 2643
         323 5TH STREET                                                            8:00 a.m. – 5:00 p.m. Pacific Time
         EUREKA CA 95501                                                                    Main Office NMLS #5985
                                                                                          Branch Office NMLS #9785



                                                                                                       April 10, 2018

                                                                             SnscLoanID0000280827
 PEGGY A HARRIS
 ROBERT HARRIS
 2041 W ELDRED RD
 ELDRED PA 16731



RE: New Loan Number:
    Old Loan Number:
    Collateral: 2041 WEST ELDRED ROAD; ELDRED PA

            NOTICE OF ASSIGNMENT, SALE, OR TRANSFER OF SERVICING RIGHTS
Dear Customer:

The notice, which follows, is intended to inform you that the servicing of your mortgage loan has been
assigned, sold or transferred. If the above-referenced loan is a closed-end, first lien, 1-4 unit residential (e.g.,
homes, condominiums, cooperative units and mobile homes) mortgage loan, this notice is being provided to
you under Section 6 of the Real Estate Settlement Procedures Act (RESPA) (12 U.S.C. §2605). When a
state law requires this notice, this notice is being provided to you under state law. When neither Section 6 of
RESPA nor state law requires this notice, this notice is being provided to you for your information.
You are hereby notified that the servicing of your mortgage loan, that is, the right to collect payments from
you, has been assigned, sold or transferred from Carrington Mortgage Services to SN Servicing Corporation
for AHP-2015A+LLC, effective April 10, 2018.

The assignment, sale, or transfer of the servicing of the mortgage loan does not affect any term or condition of
the mortgage instruments, other than terms directly related to the servicing of your loan.

Except in limited circumstances, the law requires that your present servicer send you this notice at least 15
days before the effective date of transfer, or at closing. Your new servicer must also send you this notice no
later than 15 days after this effective date or at closing.

Your present servicer is Carrington Mortgage Services , PO Box 3489, Anaheim, CA 92803. If you have any
questions relating to the transfer of servicing from your present servicer call Customer Service at (800) 561-
4567 Monday through Friday between 8:00 a.m. to 8:00 p.m. Eastern Time . This is a toll-free number.

Your new servicer will be SN Servicing Corporation.

The correspondence address for your new servicer is SN Servicing Corporation, 323 Fifth St, Eureka, CA
95501.

The toll-free telephone number of your new servicer is (800) 603-0836. If you have any questions relating to
the transfer of servicing to your new servicer call Sherri Boyer at (800) 603-0836 Monday through Friday
between 8:00 a.m. and 5:00 p.m. Pacific Time. You may access your account and make payments via our
secure website at https://borrower.snsc.com.

The date that your present servicer will stop accepting payments from you is April 9, 2018. The date that your
new servicer will start accepting payments from you is April 10, 2018. Send all payments on or after April 10,
2018 to your new servicer.

Make your payments payable to:        SN Servicing Corporation

Mail your payments to:                SN Servicing Corporation
                                      PO BOX 660820
                                      DALLAS, TX 75266-0820

The transfer of servicing rights may affect the terms of or the continued availability of mortgage life or disability
insurance or any other type of optional insurance in the following manner: SN Servicing Corporation will not
continue to accept your insurance payments as a part of your monthly loan payment nor will it be responsible
for the continuation of any such optional insurance coverage. You should take the following action to maintain
coverage: contact your optional insurance carrier immediately for instructions on how to continue such
optional insurance coverage.
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You should also be aware of the following information, which is set out in more detail in Section 6 of the Real
Estate Settlement Procedures Act (RESPA) (12 U.S.C. §2605):

During the 60-day period following the effective date of the transfer of the loan servicing, a loan payment
received by your old servicer before its due date may not be treated by the new loan servicer as late, and a
late fee may not be imposed on you.

Section 6 of RESPA (12 U.S.C. §2605) gives you certain consumer rights. If you send a “qualified written
request” to your loan servicer concerning the servicing of your loan, your servicer must provide you with a
written acknowledgment within 5 Business Days of receipt of your request. A “qualified written request” is a
written correspondence, other than notice on a payment coupon or other payment medium supplied by the
servicer, which includes your name and account number, and your reasons for the request. If you want to
send a “qualified written request” regarding the servicing of your loan, it must be sent to this address: SN
Servicing Corporation, 323 Fifth St, Eureka, CA 95501.

Not later than 30 Business Days after receiving your request, your servicer must make any appropriate
corrections to your account, and must provide you with a written clarification regarding any dispute. During
this 30-Business Day period, your servicer may not provide information to a consumer reporting agency
concerning any overdue payment related to such period or qualified written request. However, this does not
prevent the servicer from initiating foreclosure if proper grounds exist under the mortgage documents.

A Business Day is a day on which the offices of the business entity are open to the public for carrying on
substantially all of its business functions.

Section 6 of RESPA also provides for damages and costs for individuals or classes of individuals in
circumstances where servicers are shown to have violated the requirements of that Section. You should seek
legal advice if you believe your rights have been violated.

You are hereby notified that this letter is being sent to you by SN Servicing Corporation, which is a debt
collector. SN Servicing Corporation is attempting to collect a debt. Any information obtained by us will be
used for that purpose. However, if you are in a bankruptcy proceeding or your debt has been discharged in
bankruptcy, please read the next paragraph carefully for some important information.

NOTICE TO ANY CUSTOMER IN BANKRUPTCY OR WHO HAS RECEIVED A DISCHARGE IN
BANKRUPTCY: Notwithstanding anything in this notice to the contrary, if you have filed a bankruptcy petition
and there is either an “automatic stay” in effect in your bankruptcy case, or you have received a discharge of
your personal liability for the obligation identified in this letter, we may not and do not intend to pursue
collection of that obligation from you personally. If these circumstances apply, this notice is not intended as a
demand for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, however,
please also note that despite any such bankruptcy filing, we do continue to retain whatever rights we hold in
the property that secures the obligation.
A consumer has the right to request in writing that a debt collector or collection agency cease further
communication with the consumer. A written request to cease communication will not prohibit the debt
collector or collection agency from taking any other action authorized by law to collect the debt.


SN Servicing Corporation for AHP-2015A+LLC
Customer Service Department
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                                                                                                    (800) 603-0836
                                                                                   Para Español, Ext. 2660 o 2643
         323 5TH STREET                                                          8:00 a.m. – 5:00 p.m. Pacific Time
         EUREKA CA 95501                                                                  Main Office NMLS #5985
                                                                                        Branch Office NMLS #9785



                                                                                                     April 10, 2018

                                                                           SnscLoanID0000280827
 PEGGY A HARRIS
 ROBERT HARRIS
 2041 W ELDRED RD
 ELDRED PA 16731



RE: New Loan Number:
    Old Loan Number:
    Collateral: 2041 WEST ELDRED ROAD; ELDRED PA

As stated in previous correspondence, the servicing of your mortgage loan has been transferred from
Carrington Mortgage Services to SN Servicing Corporation for AHP-2015A+LLC effective April 10, 2018

If your loan is secured by real estate, please contact your insurance carrier to have the mortgagee clause
changed to the following:
      SN Servicing Corp
      ISAOA ATIMA
      P.O. Box 35
      Eureka, CA 95502
Please have your insurance carrier forward a copy of your insurance policy with the mortgagee clause change
to our Escrow Department at the address shown above. If your property is located in a flood hazard zone,
which starts with an “A” or “V”, we will also require a copy of your flood insurance policy.

If you or your insurance carriers have any questions, please contact Sherri Boyer at (800) 603-0836 Monday
through Friday between 8:00 a.m. and 5:00 p.m., Pacific Time.

You are hereby notified that this letter is being sent to you by SN Servicing Corporation, which is a debt
collector. SN Servicing Corporation is attempting to collect a debt. Any information obtained by us will be
used for that purpose. However, if you are in a bankruptcy proceeding or your debt has been discharged in
bankruptcy, please read the next paragraph carefully for some important information.

NOTICE TO ANY CUSTOMER IN BANKRUPTCY OR WHO HAS RECEIVED A DISCHARGE IN
BANKRUPTCY: Notwithstanding anything in this notice to the contrary, if you have filed a bankruptcy petition
and there is either an “automatic stay” in effect in your bankruptcy case, or you have received a discharge of
your personal liability for the obligation identified in this letter, we may not and do not intend to pursue
collection of that obligation from you personally. If these circumstances apply, this notice is not intended as a
demand for payment from you personally. Unless the Bankruptcy Court has ordered otherwise, however,
please also note that despite any such bankruptcy filing, we do continue to retain whatever rights we hold in
the property that secures the obligation.

SN Servicing Corporation for AHP-2015A+LLC
Escrow Department
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                                                 Document      Page 6 of 9
                                   WHAT DOES SN SERVICING CORPORATION (SNSC) DO
         FACTS                     WITH YOUR PERSONAL INFORMATION?

                                   Financial companies choose how they share your personal information. Federal law gives consumers
         Why?                      the right to limit some but not all sharing. Federal law also requires us to tell you how we collect, share,
                                   and protect your personal information. Please read this notice carefully to understand what we do.


         What?                     The types of personal information we collect and share depend on the product or service you have with
                                   us. This information can include:
                                        Social Security number and account balances
                                        transaction history and credit history
                                        credit scores and mortgage rates and payments
                                   When you are no longer our customer, we continue to share your information as described in this
                                   notice.


         How?                      All financial companies need to share customers’ personal information to run their everyday business.
                                   In the section below, we list the reasons financial companies can share their customers’ personal
                                   information; the reasons SN Servicing Corporation chooses to share; and whether you can limit this
                                   sharing.

         Reasons we can share your personal information                  Does SN Servicing share?                   Can you limit this sharing?
         For our everyday business purposes—
         such as to process your transactions, maintain your
                                                                                      Yes                                          No
         account(s), respond to court orders and legal
         investigations, or report to credit bureaus

         For our marketing purposes—
                                                                                      Yes                                          No
         to offer our products and services to you

         For joint marketing with other financial companies                           Yes                                          No

         For our affiliates’ everyday business purposes—
                                                                                      Yes                                          No
         information about your transactions and experiences

         For our affiliates’ everyday business purposes—
                                                                                      Yes                                          Yes
         information about your creditworthiness

         For our affiliates to market to you                                          Yes                                          Yes

         For nonaffiliates to market to you                                           Yes                                          Yes

                                   Do any of the following:
         To limit
                                        Call toll free: 800-603-0836
         our sharing
                                        Visit our Borrower Web Site: https://borrower.snsc.com
                                        Mail the form below
                                     Please note:
                                     If you are a new customer, we can begin sharing your information 30 days from the date we sent this notice.
                                     When you are no longer our customer, we continue to share your information as described in this notice.
                                     However, you can contact us at any time to limit our sharing.



         Questions?                Call 800-603-0836 or go to SNSC’s borrower website at: https://borrower.snsc.com

-------------------------------------------------------------------------------------------------------------------------------------------------------


         Mail-in Form
                               Mark any/all you want to limit:
                                    Do not share information about my creditworthiness with your affiliates for their everyday business purposes.
                                    Do not allow your affiliates to use my personal information to market to me.
                                    Do not share my personal information with nonaffiliates to market their products and services to me.

                             Name
                                                                                                                        Mail to:
                             Address
                                                                                                                        SN Servicing Corporation
                                                                                                                        323 5th Street
                             City, State, Zip
                                                                                                                        Eureka, CA 95501
                             Account #
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 What we do
 How does SN Servicing                    To protect your personal information from unauthorized access and use, we use security
 Corporation protect my personal          measures that comply with federal law. These measures include computer safeguards,
 information?                             secured files and buildings.
 How does SN Servicing                    We collect your personal information, for example, when you
 Corporation collect my personal
                                              give us your income information or provide account information
 information?
                                              give us your contact information or pay us by check
                                              provide your mortgage information
                                          We also collect your personal information from others, such as credit bureaus, affiliates, or other
                                          companies.
                                          Federal law gives you the right to limit only
 Why can’t I limit all sharing?
                                              sharing for affiliates’ everyday business purposes—information about your creditworthiness
                                              affiliates from using your information to market to you
                                              sharing for nonaffiliates to market to you
                                          State laws and individual companies may give you additional rights to limit sharing. See below for
                                          more on your rights under state law.
                                          Your choices will apply to everyone on your account.
 What happens when I limit
 sharing for an account I hold
 jointly with someone else?

 Definitions
 Affiliates             Companies related by common ownership or control. They can be financial and nonfinancial companies.
                        Our affiliates include companies with a “Security National” or “SN” common corporate identity and other financial
                        companies including, but not limited to:


                               Alaska Eastern Partners, A Limited Partnership       SN Liquidating Trust 2011-A
                               Alaska Louisiana Partners, A Limited Partnership     SN Mortgage Loan Trust
                               Security National Funding Trust                      Statewide Mortgage Loan Trust
                               Security National Mortgage Loan Trust




 Nonaffiliates          Companies not related by common ownership or control. They can be financial and nonfinancial companies.
                           Nonaffiliates we can share with include other mortgage companies, insurance companies, credit bureaus, direct
                            marketing companies, and rating agencies.

 Joint marketing        A formal agreement between nonaffiliated financial companies that together market financial products or services to
                        you.
                           Our joint marketing partners include banks, mortgage companies, and other lenders.


 Other important information

State Laws - Our privacy and information sharing practices are in accordance with federal and state laws. California, Nevada and Vermont
state laws limits the sharing personal information for their residents. We will not share personal information about California, Nevada or
Vermont residents with non-affiliated third parties (Box 3) except as permitted by law. In the future if other states adopt privacy laws more
restrictive than those under current federal or state law, SNSC will comply with those new laws.

California: If you have a California address, we will treat your account as if you opted out from sharing information with non-affiliated
companies on the Privacy Form (Box 3). To further restrict the sharing of personal information with our affiliates, you can mark Box 1 and 2
on the Privacy Form, as well.

Nevada: If you have a Nevada address, we do not share your information with non-affiliated third parties (Box 3). You may wish to further
restrict the sharing of information by sending in the Privacy Form with Box 1 and 2 marked.

Please call the toll-free SNSC customer service number if you wish for SNSC to include you in our internal do not call registry. If you would
like guidance about Nevada’s law regarding corporate do-not-call registries, please contact the Bureau of Consumer Protection, Office of
the Nevada Attorney General, 555 E. Washington Street, Suite 3900, Las Vegas, Nevada 89101; Phone: (702) 486-3132, Email:
BCPINFO@ag.state.nv.us.

Texas: Complaints regarding the servicing of residential mortgage loans in the state of Texas should be sent to the Department of Savings
and Mortgage Lending, 2601 North Lamar, Suite 201, Austin, TX 78705. A toll-free consumer hotline is available at 877-276-5550.

Vermont: If you have a Vermont address, we will treat you as if you opted-out of sharing your information with affiliated or non-affiliated
entities on the mail-in Privacy Form (Boxes 1, 2 and 3).
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        SN SERVICING CORPORATION
                           Document - Page
                                      FEE 8SCHEDULE
                                           of 9     (Effective: 7/31/2017)
                               Main Office: NMLS ID #5985; Branch Office: NMLS ID #9785
The following is a list of fees and charges that, subject to applicable laws or the documents evidencing your loan, may be imposed in connection
                             with the servicing of your loan. Please note that the fees listed below are subject to change.
                     FEE                                    AMOUNT                                       DESCRIPTION
                                                                                     Penalty the homeowner pays when a mortgage payment is
                                                                                     made after the due date grace period. %/Amount stated in
Late Charge Fee                                      Refer to loan documents
                                                                                     Note and/or Security Agreement and subject to state law
                                                                                     limits.

                                                                                     Fee charged when a payment by check is returned as not
NSF or Dishonored Check Fee                                    Varies                paid by your bank because of insufficient funds in the
                                                                                     checking account. State law may dictate fee.

                                                                                     Loan documents may require you to pay an additional fee if
Prepayment Fee                                       Refer to loan documents
                                                                                     you pay off your loan in advance of the maturity date.

                                                                                     Fee charged if the loan is in default and we can not make
Property Inspection Fee                                       $20-$35                contact with you to determine the condition of the property,
                                                                                     in accordance with HUD Guidelines, where applicable.

                                                                                     Fee charged for determining the value and condition of the
Broker Price Opinion Fee                                  $89.00 - $195.00           property when loan payments are past due, in accordance
                                                                                     with HUD Guidelines, where applicable.
                                                                                     Fee charged for appraisal used to determine the value and
                                                                                     condition of the property. The appraiser vendor costs are
Appraisal Fee                                            $195.00 - $450.00
                                                                                     passed through to you without mark-up by us - you are
                                                                                     charged actual costs.
                                                                                     Fee charged by the relevant county/town for recording the
Recording Fee                                          Based on jurisdiction
                                                                                     release/satisfaction.
                                                    Actual fees and costs, in
                                                                                 Fee paid to a third party charged at payoff for preparing the
Release Fee                                       accordance with jurisdictional
                                                                                 release of mortgage.
                                                         requirements
                                                                                     Fees and costs associated with protection of collateral.
                                                                                     Foreclosure attorney fees and costs will vary by filing type
Foreclosure Attorney Fees and Costs                            Varies                and are limited to the actual fees and costs, and are
                                                                                     charged in acccordance with Fannie Mae guidelines, where
                                                                                     applicable. State law may limit costs .

                                                                                     Fees and costs associated with preserving obligation.
                                                                                     Bankruptcy attorney fees and costs will vary by bankruptcy
Bankruptcy Attorney Fees and Costs                             Varies                chapter type and are limited to actual fees and costs, and
                                                                                     are charged in accordance with Fannie Mae guidelines,
                                                                                     where applicable.

                                                                                     Fees required to preserve the property. Will vary according
Property Preservation Costs                                    Varies                to each situation and required expenses, and are limited to
                                                                                     actual fees and costs.

                                                                                     Fee required to provide a documentation of the monthly
                                                                                     payment history, account balance, and history of loan to a
Verification of Mortgage                                       $10.00
                                                                                     third party. State law may dictate the fee amount, and
                                                                                     these will only be charged where permitted by state law.

                                     The fees shown below will be imposed for services that you request.
                              You will be asked to agree to pay these charges at the time you request the service.
                     FEE                                     AMOUNT                                       DESCRIPTION
                                                                                     Fee charged for making a payment by phone. State law
Check by Phone                                                 $15.00                may dictate the fee amount, and these will only be charged
                                                                                     where permitted by state law.

                                                                                     Actual charge from delivery service provider (such as UPS
Express Mail Fee                                           Actual charge
                                                                                     or FedEx) for expedited delivery of documents.

                                               No charge for any of the following services:
        Online Payment Processing                     Amortization Schedule                        Duplicate Annual Statement
                  Fax Fee                               Loan Modification                               Payment History
        Loss Mitigation Processing                     Payoff Statement Fee                          Copy of loan documents
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